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                           IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE
     ----------------------------------------------------------- x
                                                                 :
     In re:                                                      : Chapter 11
                                                                 :
     THE WEINSTEIN COMPANY HOLDINGS, :                             Case No. 18-10601 (MFW)
     LLC, et al.,                                                :
                                                                 : (Jointly Administered)
                                    Debtors.1                    :
                                                                 :
     ----------------------------------------------------------- x

         DECLARATION OF BRAD TUTTLE IN SUPPORT OF THE DEBTORS’
          AMENDED MOTION FOR ENTRY OF AN ORDER (I) ESTABLISHING
       DEADLINES FOR FILING PROOFS OF CLAIM SOLELY WITH RESPECT TO
      TORT CLAIMS, (II) APPROVING FORM AND MANNER OF NOTICE THEREOF,
                       AND (III) GRANTING RELATED RELIEF

     I, BRAD TUTTLE., hereby declare and state as follows:

              1.       My name is Brad Tuttle. I am over the age of twenty-one and I have personal

     knowledge of the matters set forth herein, and I believe them to be true and correct.

              2.       I am the Senior Managing Director of Epiq Corporate Restructuring, LLC

     (“Epiq”), a chapter 11 administrative services firm whose headquarters is located at 757

     Third Avenue, New York, New York 10017.                        Epiq is comprised of leading industry

     professionals with significant experience in both the legal and administrative aspects of large,

     complex chapter 11 cases.             Epiq’s professionals have experience in noticing, claims

     administration, solicitation, balloting and facilitating other administrative aspects of Chapter

     11 cases and experience in matters of the size and complexity of these Chapter 11 cases.

     Epiq’s professionals have acted as administrative agent or official claims and/or noting agent

     in a large bankruptcy cases in this District and in other districts nationwide. Epiq’s active

     cases included: In re Quorum Health Corporation, Case No. 20-10766 (KBO) (Bankr. D.

     1
      The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837.
     Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
     only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
     provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims
     and noticing agent at http://dm.epiq11.com/twc.




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     Del. Apr. 7, 2020); In re Fred’s, Inc., Case No. 19-11984 (CSS) (Bankr. D. Del. Sep. 09,

     2019); In re THG Holdings LLC, Case No. 19-11689 (JTD) (Bankr. D. Del. Jul 30, 2019); In

     re RUI Holding Corp., Case No. 19-11509, (JTD) (Bankr. D. Del. Jul. 7, 2019); In re HDR

     Holding, Inc., Case No. 19-11396 (MFW) (Bankr. D. Del. Jun. 24, 2019); In re Joerns

     WoundCo Holdings, Inc., Case No. 19-11401 (JTD) (Bankr.D. Del. June 24, 2019); In re

     Insys Therapeutics, Inc., Case No. 19-11292 (KG) (Bankr. D. Del. Jun 10, 2019); In re Kona

     Grill, Inc., Case No. 19-10953 (CSS) (Bankr. D. Del. Apr. 30, 2019); In re WMC Mortgage,

     LLC,Case No. 19-10879 (CSS) (Bankr. D. Del. Apr. 23, 2019); In re F+W Media, Inc., Case

     No. 19-10479 (KG) (Bankr. D. Del. Mar. 10, 2019); In re Avadel Specialty Pharmaceuticals,

     LLC, Case No. 19-10248 (CSS) (Bankr. D. Del. Feb 06, 2019); In re HCR ManorCare, Inc.,

     Case No. 18-10467 (KG) (Bankr. D. Del. Mar. 6, 2018); In re Herald Media Holdings, Inc.,

     Case No. 17-12881 (LSS) (Bankr. D. Del. Dec. 8, 2017); and In re Maurice Sporting Goods,

     Inc., Case No. 17-12481 (CSS) (Bankr. D. Del. Nov. 20, 2017), In re Ditech Holding

     Corporation, No. 19-10412 (JLG) (Bankr. S.D.N.Y Feb 11, 2019); In re Trident Holding

     Company, LLC, No. 19-10384 (SHL) (Bankr. S.D.N.Y Feb. 10, 2019); In re Aegean Marine

     Petroleum Network Inc., No. 18-13374 (MEW) (Bankr. S.D.N.Y. Nov. 16, 2018); In re

     Hooper Holmes, Inc. d/b/a Provant Health, No. 18-23302 (RDD) (Bankr. S.D.N.Y. August
     30, 2018); In re Tops Holding II Corporation, et al., No. 18-22279 (RDD) (Bankr. S.D.N.Y.

     Feb. 26, 2018); In re Roust Corporation, No. 16-23786 (RDD) (Bankr. S.D.N.Y. Jan. 10,

     2017); In re Atlas Resource Partners, L.P., No. 16-12149 (SHL) (Bankr. S.D.N.Y. Aug. 2,

     2016); In re China Fishery Group Ltd., No. 16-11895 (JLG) (Bankr. S.D.N.Y. May 24,

     2017); In re Nautilus Holdings Ltd., No. 14-22885 (RDD) (Bankr. S.D.N.Y. June 25, 2014);

     In re LHI Liquidation Co. (f/k/a Loehmann’s Holdings Inc.), No. 13-14050 (MG) (Bankr.

     S.D.N.Y. Dec. 17, 2013); In re RDA Holding Co., No. 13-22233 (RDD) (Bankr. S.D.N.Y.

     Feb. 21, 2013); In re HMX Acquisition Corp., No. 12-14300 (MEW) (Bankr. S.D.N.Y. Oct.

     23, 2012); In re K-V Discovery Solutions, Inc., No. 12-13346 (ALG) (Bankr. S.D.N.Y. Aug.

     7, 2012); In re Dewey & LeBoeuf LLP, No. 12-12321 (MG) (Bankr. S.D.N.Y. May 29,


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     2012); In re Hawker Beechcraft, Inc., No. 12-11873 (SMB) (Bankr. S.D.N.Y. May 4, 2012);

     In re Dynegy Holdings, LLC, No. 11-38111 (CGM) (Bankr. S.D.N.Y. Nov. 15, 2011); In re

     4Kids Entm’t, Inc., No. 11-11607 (SCC) (Bankr. S.D.N.Y. Apr. 8, 2011); In re Sbarro, Inc.,

     No. 11- 11527 (SCC) (Bankr. S.D.N.Y. Apr. 5, 2011); In re St. Vincent’s Catholic Med. Ctrs.

     of N.Y., No. 10-11963 (CGM) (Bankr. S.D.N.Y. Apr. 16, 2010); In re Old Carco LLC (f/k/a

     Chrysler LLC), No. 09-50002 (SMB) (Bankr. S.D.N.Y. May 4, 2009); In re Mark IV Indus.,

     Inc., No. 09-12795 (SMB) (Bankr. S.D.N.Y. May 5, 2009); In re Lyondell Chem. Co., No.

     09-10023 (CGM) (Bankr. S.D.N.Y. Jan. 8, 2009); In re Lehman Bros. Holdings Inc., No. 08-

     13555 (JMP) (Bankr. S.D.N.Y. Sept. 16, 2008); In re Frontier Airlines Holdings, Inc., No.

     08-11298 (RDD) (Bankr. S.D.N.Y. May 2, 2008)

                3.       The Debtors engaged Epiq on March 12, 2018 to perform a variety of tasks

     relating to the Debtors’ restructuring. On March 20, 2018, the Court entered an order

     approving the Debtors’ retention of Epiq as official claims and noticing agent [Docket No.

     70]. In addition, by order dated April 18, 2018, the Court approved the Debtors’ application

     to employ Epiq as administrative advisor in these Chapter 11 Cases [Docket No. 257]

                4.       I submit this declaration (the “Declaration”) in support of the Debtors’

     Motion For Entry of an Order (I) Establishing Deadlines for Filing Proofs of Claim Solely
     with respect to Tort Claims, (II) Approving Form and Manner of Notice Thereof, and (III)

     Granting Related Relief (the “Motion”). Except as otherwise indicated herein, the facts set

     forth in this Declaration are based upon my personal knowledge, my review of the relevant

     documents, and information provided to me by the Debtors and their professionals. I am

     authorized to submit this Declaration on behalf of the debtors.

                                                       OVERVIEW

                5.       This declaration will describe the Debtors’ manner of providing notice of the

     Tort Claims Bar Date2 (the “Notice Program”) designed by Hilsoft Notifications

     2
         A capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.



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     (“Hilsoft”)3 and proposed for approval in In re The Weinstein Company Holdings LLC, et al.,

     No. 18-10601 (MFW), (Bankr. D. Del.). The Notice Program will include email notice to

     known and potential holders of Tort Claims (“Tort Claimants”) whose email addresses are

     available and are facially valid (the “Email Notice”). For those Tort Claimants without a

     valid email address and for those with an undeliverable email after several attempts, a copy

     of the Tort Claims Bar Date Notice will be sent via United States Postal Services (“USPS”)

     first class mail. Since not all Tort Claimants members are known, a publication effort

     including print publications, internet advertising, sponsored search listings, an informational

     release, and a settlement website will be provided (the “Publication Notice”).                                  The

     Publication Notice will be primarily targeted to areas where Harvey Weinstein was known to

     frequent like New York, Los Angeles, Toronto, and London, and will be included in trade

     and entertainment industry publications most likely to reach potential Tort Claimants.

              6.       In my opinion, the proposed Notice Program is designed to reach the greatest

     practicable number of Tort Claimants with individual notice and paid and earned media. In my

     opinion, the Notice Program is the best notice practicable under the circumstances of this case

     and satisfies the requirements of due process, including its “desire to actually inform”

     requirement.4
                                   NOTICE PROGRAM METHODOLOGY

              7.       The Notice Program is designed to provide adequate and appropriate notice in

     accordance with the chapter 11 of Title 11 of the United States Code (the “Bankruptcy

     Code”), the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and binding

     Third Circuit law, see Chemetron Corp. v. Jones (In re Chemetron Corp.), 72 F.3d 341-47

     3
       Hilsoft is a firm that specializes in designing, developing, analyzing and implementing large-scale, un-biased,
     legal notification plans and is a business unit of Epiq Class Action & Claims Solutions, Inc.
     4
        “But when notice is a person’s due, process which is a mere gesture is not due process. The means employed must
     be such as one desirous of actually informing the absentee might reasonably adopt to accomplish it. The
     reasonableness and hence the constitutional validity of any chosen method may be defended on the ground that it is in
     itself reasonably certain to inform those affected . . .” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306,
     315 (1950).




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     (3d Cir. 1995). Data sources and tools that are commonly employed by experts in this field

     were used to analyze the paid media portion of the Notice Program. In particular, GfK

     Mediamark Research & Intelligence, LLC (“MRI”) data5 provides statistically significant

     readership information. These tools, along with demographic breakdowns indicating how

     many people use each media vehicle, allow us to determine the notice plan’s sufficiency and

     effectiveness.

              8.        Tools and data trusted by the communications industry and courts. Virtually

     all of the nation’s largest advertising agency media departments utilize, scrutinize, and rely

     upon such independent, time-tested data and tools, including net reach and de-duplication

     analysis methodologies, to guide the billions of dollars of advertising placed each year,

     providing assurance that these figures are not overstated. These analyses and similar planning

     tools have become standard analytical tools for evaluations of notice programs, and have

     been regularly accepted by courts.

              9.        In fact, advertising and media planning firms around the world have long

     relied on audience data and techniques: AAM has been a trusted source since 19146; Nielsen7


     5
      GfK Mediamark Research & Intelligence, LLC (“MRI”) is a leading source of publication readership and product
     usage data for the communications industry. MRI offers comprehensive demographic, lifestyle, product usage and
     exposure to all forms of advertising media collected from a single sample. As the leading U.S. supplier of multimedia
     audience research, MRI provides information to magazines, television networks, radio stations, websites, and other
     media, leading national marketers, and over 450 advertising agencies—including 90 of the top 100 in the United
     States. MRI’s national syndicated data is widely used by companies as the basis for the majority of the media and
     marketing plans that are written for advertised brands in the U.S.
     6
       Established in 1914 as the Audit Bureau of Circulations (“ABC”), and rebranded as Alliance for Audited Media
     (“AAM”) in 2012, AAM is a non-profit cooperative formed by media, advertisers, and advertising agencies to audit
     the paid circulation statements of magazines and newspapers. AAM is the leading third party auditing organization in
     the U.S. It is the industry’s leading, neutral source for documentation on the actual distribution of newspapers,
     magazines, and other publications. Widely accepted throughout the industry, it certifies thousands of printed
     publications as well as emerging digital editions read via tablet subscriptions. Its publication audits are conducted in
     accordance with rules established by its Board of Directors. These rules govern not only how audits are conducted,
     but also how publishers report their circulation figures. AAM’s Board of Directors is comprised of representatives
     from the publishing and advertising communities.
     7
       Nielsen ratings are the audience measurement system developed by the Nielsen Company to determine the audience
     size and composition of television programming in the United States. Since first debuting in 1950, Nielsen’s
     methodology has become the primary source of audience measurement information in the television industry around
     the world, including “time-shifted” viewing via television recording devices.




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     and Nielsen Audio8 (formerly Arbitron Inc.) have been relied on since 1950; as well as more

     recently, comScore.9            Today, 90-100% of media directors use reach and frequency

     planning;10 all of the leading advertising and communications textbooks cite the need to use

     reach and frequency planning;11 and at least 15,000 media professionals in 85 different

     countries use media planning software.12

                                                 NOTICE PROGRAM

               10.      Epiq will send individual notice either by e-mail or physical mail to all valid

     records compiled during the bankruptcy proceeding including the creditors matrix, the

     scheduled claims, and the filed claims. Epiq was also provided an Outlook contacts file that

     included further records for inclusion in the notice plan. After combining and de-duplicating

     the data, Epiq has identified 47,538 records that will be sent either a mailed or e-mailed

     notice.




     8
       Nielsen Audio (formerly Arbitron Inc., which was acquired by the Nielsen Company and re-branded Nielsen Audio), is
     an international media and marketing research firm providing radio media data to companies in the media industry,
     including radio, television, online and out-of-home; the mobile industry as well as advertising agencies and advertisers
     around the world.
     9
        comScore, Inc. is a global leader in measuring the digital world and a preferred source of digital marketing
     intelligence. In an independent survey of 800 of the most influential publishers, advertising agencies and advertisers
     conducted by William Blair & Company in January 2009, comScore was rated the “most preferred online audience
     measurement service” by 50% of respondents, a full 25 points ahead of its nearest competitor.
     10
         See generally Peter B. Turk, Effective Frequency Report: Its Use And Evaluation By Major Agency Media
     Department Executives, 28 J. ADVERTISING RES. 56 (1988); Peggy J. Kreshel et al., How Leading Advertising
     Agencies Perceive Effective Reach and Frequency, 14 J.ADVERTISING 32 (1985).
     11
        Textbook sources that have identified the need for reach and frequency for years include: JACK S. SISSORS &
     JIM SURMANEK, ADVERTISING MEDIA PLANNING, 57-72 (2d ed. 1982); KENT M. LANCASTER & HELEN
     E. KATZ, STRATEGIC MEDIA PLANNING 120-156 (1989); DONALD W. JUGENHEIMER & PETER B. TURK,
     ADVERTISING MEDIA 123-126 (1980); JACK Z. SISSORS & LINCOLN BUMBA, ADVERTISING MEDIA
     PLANNING, 93-122 (4th ed. 1993); JIM SURMANEK, INTRODUCTION TO ADVERTISING MEDIA:
     RESEARCH, PLANNING, AND BUYING 106-187 (1993).
     12
        For example, Telmar is the world's leading supplier of media planning software and support services. Over 15,000
     media professionals in 85 countries use Telmar systems for media and marketing planning tools including reach and
     frequency planning functions. Established in 1968, Telmar was the first company to provide media planning systems
     on a syndicated basis.




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                                           Individual Notice

            11.     The Email Notice will be sent to all potential Tort Claimants for whom a

     facially valid email address is available. The Email Notice will use an embedded html text

     format. This format will provide easy to read text without graphics, tables, images and other

     elements that would increase the likelihood that the message could be blocked by Internet

     Service Providers (ISPs) and/or SPAM filters. Each Email Notice will be transmitted with a

     unique message identifier.    If the receiving email server cannot deliver the message, a

     “bounce code” will be returned along with the unique message identifier. For any Email

     Notice for which a bounce code is received indicating that the message was undeliverable, at

     least two additional attempts will be made to deliver the Email Notice.

            12.     The Email Notice will include an embedded link to the Debtors’ claims and

     noticing website. By clicking the link, recipients will be taken to the website, which directs

     potential Tort Claimants to file a Tort Claims Proof of Claim Form, provides information

     about these chapter 11 cases, and provides information on how to access the: (i) Tort Claims

     Bar Date Notice; (ii) Tort Claims Proof of Claim Form; and (iii) Tort Claims Bar Date Order

     (the “Tort Claims Bar Date Notice Package”).

            13.     For Tort Claimants for whom the Email Notice is undeliverable after multiple
     attempts and for those Tort Claimants without a facially valid email address, they will be sent

     a copy of the Tort Claims Bar Date Notice via the USPS first class mail.

            14.     Prior to the initial mailing, mailing addresses will be checked against the

     National Change of Address (“NCOA”) database maintained by the USPS, which contains

     records of all reported permanent moves for the past four years. All addresses will be

     certified via the Coding Accuracy Support System (“CASS”) to ensure the quality of the zip

     codes, and verified through the Delivery Point Validation (“DPV”) to verify the accuracy of the

     addresses. This address updating process is standard for the industry and for the majority of

     promotional mailings that occur today.




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              15.   Mailed copies of the Tort Claims Bar Date Notice that are returned as

     undeliverable will be re-mailed to any new address available through the USPS information,

     for example, to the address provided by the USPS on returned pieces for which the

     automatic forwarding order has expired, but which is still during the period in which the

     postal service returns the piece with the address indicated, or to better addresses that may be

     found using a third-party lookup service. Upon successfully locating better addresses, the

     Tort Claims Bar Date Notice will be promptly re-mailed.

                                          Publication Notice

              16.    The print component of the Publication Notice will appear once in a weekday

     edition in three print publications: The Hollywood Reporter, Variety, and NY Post as an

     approximate 1/2 page ad unit. The combined estimated circulation for the three publications

     is 543,429. These publications will reach individuals in the entertainment industry as well as

     consumers who follow it, with a focus to both the Los Angeles and New York metropolitan

     areas.

              17.    In addition, internet advertising has become a standard component in legal

     notice programs. The internet has proven to be an efficient and cost-effective method to

     target potential creditors. Banner notices are image-based graphic displays available on
     desktops and mobile devices. These ads are used in legal noticing to notify people of a

     settlement relevant to them. The Notice Program will employ the use of banner notices, and

     the text of the banner notices will allow users to identify themselves as potential Tort

     Claimants and directly link them to the Debtors’ claims and noticing website for more

     information.

              18.    The banner notices component of the Publication Notice will run on the

     following select websites: The Toronto Star (TheStar.com), The Sun (TheSun.co.uk), NY

     Post (NYPost.com), and Page 6 (Page6.com). The banner notices also will be placed on the

     social media platforms, LinkedIn, Facebook, and Instagram. Details regarding the banner

     notices are as follows:


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                                                                                         Planned
      Digital Property / Target                    Distribution      Ad Unit Size       Impressions
                                                                   300x250; 728x90;
     The Toronto Star (TheStar.com)           Toronto, Canada                             8,000,000
                                                                   300x600; 970x250
                                                                   300x250; 728x90;
     The Sun (TheSun.co.uk)                   London, England                            16,000,000
                                                                   300x600; 970x250
     NY Post (NYPost.com)                      New York, NY        300x250; 970x250        562,500
     Page 6 (Page6.com)                        New York, NY        300x250; 970x250        505,051
     LinkedIn – target includes those who                          Newsfeed & Right        675,000
                                                    National
     work(ed) at Miramax/Weinstein Co.                               Hand Column
                                              Los Angeles, CA
     LinkedIn – target including               New York, NY        Newsfeed & Right       5,850,000
     individuals with work experience in      Toronto, Canada       Hand Column
     entertainment industry                   London, England
     Facebook & Instagram – interests:                             Newsfeed & Right       7,875,000
     “Acting” & “Show Business”                     National        Hand Column
                                              Los Angeles, CA
     Facebook & Instagram – interests:         New York, NY        Newsfeed & Right      18,375,000
     “Acting” & “Show Business”               Toronto, Canada       Hand Column
                                              London, England
      Total                                                                              57,842,551

              19.    Combined, an estimated 57.8 million adult impressions will be generated by

      the banner notices (displayed on websites and social media), which will appear on a rotating

      basis over a four-week period. Clicking on the banner notices will link viewers to the

      Debtors’ claims and noticing website for more information.

              20.    To facilitate locating the Debtors’ claims and noticing website, sponsored

      search listings will be acquired on the three most highly-visited internet search engines:

      Google, Yahoo! and Bing.       When search engine visitors search on common keyword

      combinations such as “Weinstein Settlement,” or “Miramax Litigation,” among others, the

      sponsored search listing will be generally displayed at the top of the page prior to the search

      results or in the upper right hand column.

              21.    Finally, to build additional reach and extend exposures, an informational

      release will be issued to the U.S. National Newsline and Entertainment influencer list. The

      informational release will also be provided directly to the Screen Actors Guild-American

      Federation of Television and Radio Artists (SAG-AFTRA), Actor's Equity Association

      (U.S.), British Actors' Equity Association, Actors' Guild of Great Britain, Alliance of


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      Canadian Cinema, Television and Radio Artists (ACTRA), and Canadian Actors' Equity

      Association. The informational release will serve a valuable role by providing additional

      notice exposures beyond that which is provided by the paid media.

                                      Claims and Noticing Website

             22.     A neutral, informational, website will be established to enable potential Tort

      Claimants to obtain additional information and documents including the Tort Claims Bar

      Date Notice Package, answers to frequently asked questions and other documents.

      The Debtors’ claims and noticing website address will be displayed prominently in all the

      notices described herein, and the banner botices will link directly to the Debtors’ claims and

      noticing website.

                          Toll-free Telephone Number and Postal Mailing Address

             23.     A toll-free telephone number will be established to provide Tort Claimants

      with access to recorded information that includes answers to frequently-asked questions and

      directs them to the Debtors’ claims and noticing website or to speak to a customer service

      representative during normal business hours. This automated phone system will be available

      24 hours per day, 7 days per week.

             24.     A post office box will be established to allow Tort Claimants to contact the
      Epiq by mail with any specific requests or questions.

                                            CONCLUSION

             25.     In notice planning, execution, and analysis in bankruptcy cases, we are guided

      by due process considerations under the United States Constitution, by the Bankruptcy Code

      and the Bankruptcy Rules, and further by case law pertaining to notice. This framework

      directs that the Notice Program be designed to reach the greatest practicable number of

      potential Tort Claimants and adequately inform them of their rights to file proofs of claims in

      these chapter 11 cases. All of these requirements will be met in this case. The Notice

      Program will provide the best notice practicable under the circumstances of this case and the




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      Notice Program schedule will afford enough time to provide full and proper notice to Tort

      Claimants before the Tort Claims Bar Date.

                                     [signature on the next page]




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      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on July 30, 2020.




                                                               Brad Tuttle
                                                               Senior Managing Director of
                                                               Epiq Corporate Restructuring,
                                                               LLC




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                                               Exhibit A
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